                      IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

WILLIAM C. YOUNG,                                 )
                                                  )
                     Plaintiff,                   )
                                                  )
v.                                                )      No. 14-127-CV-W-DW
                                                  )
UNIFIED GOVERNMENT OF                             )
WYANDOTTE COUNTY/KANSAS CITY,                     )
KANSAS and ALL CITY                               )
TOW SERVICE,                                      )
                                                  )
                     Defendants.                  )


                                          ORDER

       Before the Court is Plaintiff’s motion to proceed in forma pauperis (Doc. 1). For

the following reasons, Plaintiff’s motion is denied and this action is dismissed.

       Title 28 U.S.C. § 1915(a)(1) provides that a court may “authorize the

commencement . . . of any suit . . . without prepayment of fees or security therefore, by a

person who submits an affidavit . . . that the person is unable to pay such fees or give

security therefor.” The process for determining whether a plaintiff should be granted

leave to proceed in forma pauperis consists of two steps. First, the Court must decide

whether the plaintiff “qualifies by economic status” pursuant to 28 U.S.C. § 1915(a). See

Martin-Trigona v. Stewart, 691 F.2d 856, 857 (8th Cir. 1982). In analyzing the plaintiff’s

economic status, the Court is guided by Local Rule 83.7’s admonition that court fees and

costs shall not “cause the applicant to give up the basic necessities of life.” L.R.

83.7(a)(4).




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       If the plaintiff qualifies by economic status, then the Court grants the application

to proceed in forma pauperis, but must also immediately also decide whether the action

must be dismissed because it is “frivolous or malicious,” fails to state a claim upon which

relief may be granted or seeks monetary relief against a party immune from such

damages. See § 1915(e)(2)(B); Martin-Trigona, 691 F.2d at 857.

       In this case, it appears that Plaintiff qualifies economically; however, Plaintiff’s

action must be dismissed. In his complaint, Plaintiff claims that All City Tow Service

has towed an automobile belonging to Kenneth Dulas and refused to release it and the

City of Kansas City, Kansas has failed to adequately “promote the achievements of

African Americans or Native Americans living in Wyandotte County.” Plaintiff has also

provided an extensive history regarding his ancestors, which culminates with his claim

that the Unified Government of Wyandotte County has seized printing presses belonging

to D.J. Young Publishing Company. Plaintiff is seeking injunctive relief, the formation

of “The New Quindaro Town”—with Plaintiff serving as the town coordinator— and

damages totaling millions of dollars.

       The Court finds that Plaintiff lacks standing to bring any claims regarding Kenneth

Dulas’ towed automobile and the remaining claims alleged are frivolous. Accordingly, it

is hereby ORDERED that:

       (1)      Plaintiff’s motion to proceed in forma pauperis (Doc. 1) is DENIED;

       (2)      This action is hereby DISMISSED without prejudice; and




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      (3)      The Clerk of Court is directed to send a copy of this Order to Plaintiff via

               regular mail and certified mail, return receipt requested.

      SO ORDERED.




Date : February 21, 2014                      _______/s/ Dean Whipple ___________
                                                       Dean Whipple
                                                   United States District Judge




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